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In The

Court of Appeals

For The

First District of Texas

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NO. 01-11-01005-CV

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OAKWOOD UNIVERSITY, Appellants

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V.

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MCKINLEY WILLIAMS, Appellee

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On Appeal from the 152nd District Court 

Harris County, Texas

Trial Court Cause No. 2010–61317

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MEMORANDUM
OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This is an
appeal from a judgment signed November 3, 2011. &nbsp;On March 8, 2012, the parties filed a joint
motion to dismiss the appeal. See Tex. R. App. P. 42.1. 

The motion is granted and the appeal
is dismissed.&nbsp; See Tex. R. App. P. 42.1(a), 43.2(f).&nbsp; We dismiss any other pending motions as moot.
&nbsp;The Clerk is directed to issue mandate
within 10 days of the date of this opinion.&nbsp;
See Tex. R. App. P.
18.1.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER CURIAM

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Panel consists of
Justices Keyes, Bland, and Sharp.

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